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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION

LILY ABEBE,                                    )
                                               )
       PLAINTIFF,                              )           CAUSE NO. 1:20-cv-
                                               )
               vs.                             )
                                               )
HEALTH AND HOSPITAL                            )
CORPORATION OF MARION                          )
COUNTY d/b/a ESKENAZI HEALTH,                  )
                                               )
       DEFENDANT.                              )

         PLAINTIFF’S COMPLAINT FOR EMPLOYMENT DISCRIMINATION
                      AND DEMAND FOR TRIAL BY JURY

                                                      I.

                                          PRELIMINARY

       1. This action seeks declaratory, injunctive, and equitable relief including back pay, general

damages, attorney fees and costs for employment discrimination suffered by Plaintiff Lily Abebe

(“Abebe”) in her being subjected to discrimination on account of her race and national origin and

being retaliated against for reporting retaliation.

                                                   II.

                                          JURISDICTION

       2. This cause arises under Title VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000e et

seq., and 42 U.S.C. § 1981.

       3. The jurisdiction over the federal issue is invoked pursuant to 28 U.S.C. § 1343.

       4. Declaratory, injunctive and equitable relief is sought pursuant to 42 U.S.C. § 2000e-

5(g), 42 U.S.C. § 1981a, and 42 U.S.C. § 12188.

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       5. Compensatory damages are sought pursuant to 42 U.S.C. § 2000e-5(g) and 42 U.S.C.

§ 1981a.

       6. Punitive damages are sought pursuant to 42 U.S.C. § 1981a(b).

       7. Cost and attorney fees may be awarded pursuant to 42 U.S.C. § 1988(b), 42 U.S.C. §

1981a, and 2000e-5(k), 42 U.S.C. § 12205, and Rule 54 of the Federal Rules of Civil Procedures.

                                                III.

                                              VENUE

       8. This action property lies in the Southern District of Indiana, Indianapolis Division,

pursuant to 28 U.S.C. § 139(b) because the claim arose in this judicial district, and because the

unlawful employment practice was committed in this judicial district.

                                                IV.

                                              PARTIES

       9. Plaintiff Lily Abebe (“Abebe”) is a black female of Ethiopian descent residing in

Southern District of Indiana.

       10. Defendant Health and Hospital Corporation of Marion County d/b/a Eskenazi Health

(“Eskenazi”) is an employer who engages in an industry affecting commerce and employs more than

fifteen (15) regular employees. Eskenazi does business in Marion County.

                                                V.

                                              FACTS

       11. Abebe was hired by Eskenazi in December, 2015 as a dental assistant.

       12. In approximately April, 2018, Abebe reported a Caucasian dental hygienist had violated

an office procedure by leaving a used and open needle out. Abebe later requested how the case was

resolved, but Eskenazi refused to tell her.
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        13. In approximately October, 2018, Abebe reported that she had been pushed by a Hispanic

dentist while assisting her with a patient. No actions were taken against the dentist.

        14. Further, since her employment, Abebe has been treated differently from her co-workers.

For example, a Hispanic dental assistant is provided certain tools (burs) required for the job, while

Abebe is required to obtain these tools from others.

        15. Abebe has reported to management that she feels that she is being discriminated against.

        16. In March, 2019, Abebe was given a negative performance evaluation. When she inquired

into the reasons for it, she was advised that it was because she did not get along with her co-workers.

Specifically, she was told that it was based on her allegations against the dental hygienist and dentist.

        17. Other non-Black, non-Ethiopian dental assistants have made allegations against co-

workers concerning safety violations and physical violence. None of them were disciplined.

        18. As a result of the negative performance appraisal, Abebe did not receive an annual raise.

                                                      VI.

                                                   CLAIMS

        19. Eskenazi discriminated against Abebe on account of her race by giving her a negative

performance evaluation.

        20. Eskenazi discriminated against Abebe on account of her national origin by giving her

a negative performance evaluation.

        21. Eskenazi retaliated against Abebe by giving her a negative performance evaluation on

account of her complaints of discrimination.

        22. As a result of all of this, Abebe suffered damages.

                                                  VII.

                                DEMAND FOR TRIAL BY JURY
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        23. Abebe demands trial by jury on all matters to triable.

        WHEREFORE, Plaintiff prays for judgment against Defendant for compensatory and

punitive damages, a jury trial for all issues properly so triable, attorney fees, costs and for all other

just and proper relief.

                                                Respectfully submitted,

                                                ROBERTS LITIGATION GROUP

                                                /s/Adam Lenkowsky
                                                Adam Lenkowsky, Ind. Atty. No. 24277-49




Adam Lenkowsky
ROBERTS LITIGATION GROUP
118 North Delaware Street
Indianapolis, Indiana 46204
Telephone: (317) 631-0172
Facsimile: (317) 631-0178
Email: alenkowsky@robertslitigation.com




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